        Case 2:12-cv-01686-JTM-DEK Document 1 Filed 06/28/12 Page 1 of 5




                               UNITEDSTATESDISTRICTCOURT
                                        DTSTRTCT
                                               OFLOI,ISTANA
                           _-_:osrERN--------x
 MYSI{ETTI.AREID,
 anindividual,                                     CASENO.:

               Plaintifi
                                                   Judge:
 vs.

WENDY'SINTERNATIONAL,
                    INC.                           Magistrate:
anOhio'Corporation,

              Defendant.
                                     -;;;.^*




       Plaintifi, MYSI{ETTLA REID, by andthroush her undersigredcounsel,hereby
                                                                              fiIes this
ComplaintandsuesWENDY'S INTERNATIONAL, INC. an ohio Company,
                                                           for declaratoryand
injunctive relief, attorreys' fees,and costspursuantto the Americanswith Disabilities
                                                                                      Ac! 42
U.S.C.$ 12181et seq.,aildalleges:

                              JURrSprcTrgN
                                         ANpPARTIES
l'     This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the Americans

       With DisabilitiesAct, 42 U.S.C.S 12l8l etseq.(hereinafter
                                                              referredto asthe..ADA,). This
       Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C. 133I and 1343.
                                                                  SS
2.     venueis properin this court pusuanttD 2gu.s.c.
                                                      $1391(b).
3'     Plaintifi, MYSHETTIA REID, (hereinafterreferredto as"MS. REID' or.?LAINTIFF,),
                                                                                             is
       a residentof Orleansparisb louisiana
       Case 2:12-cv-01686-JTM-DEK Document 1 Filed 06/28/12 Page 2 of 5



4.     MS. REID is a qualifiedindividualwith a disabilityunderthe ADA. MS. REID is a stroke

       victim.

5.     Due to her disability, PLAINTIFF is substantiallyimpaired in severalmajor life activities and

       requires a wheelchair for mobility.

6.     Upon information and belief, Defendant wENDY's INTERNATIONAL, INC. is an ohio

       Corporationcurrently registeredto do businessin the Stateof Louisiana (hereinafterreferred

       to as "DEFENDANT").      DEFENDANT is the owner, lessee,lessor and/or operatorof the

       real properties and improvements which is the subject of this action, to wit: Wendy,s

       Restaurant,generally located at 3601 Gen. Degaulle Dr., New Orleans,LA 70114. The

       DEFENDANT is obligated to comply with the ADA.

7.     All events giving rise to this lawsuit occurred in the EasternDistrict of Louisiana. Orleans

       Parish, Louisiana.



                     llouNT r - VIOLATTON
                                        OFTrTLErrr OFTHE
                         AMERICANS WITH DISABILITIES ACT

8.     PLAINTIFFreallegesandreaversParagraphs
                                            | - 7 asif theywereexpresslyrestatedherein.

9.     ThePropertyis a placeof public accommodation,
                                                  subjectto the ADA, generallylocatedat:

       3601Gen.DegaulleDr., New Orleans,LA70ll4.

10.    MS. REID hasvisitedthe Propertynumeroustimesandplansto visit the Propertyagainin

       the nearfuture.

t l.   During thesevisits, MS. REID experienced
                                              seriousdifficulty accessingthe goodsand

       utilizing the servicesthereindueto thearchitecturalbarriersasdiscussed
                                                                            in paragraph14of
                                               2
        Case 2:12-cv-01686-JTM-DEK Document 1 Filed 06/28/12 Page 3 of 5




       this ComPlaint.
                                                                                 serious
12.    MS. REID continuesto desireto visit the Propefi, but continuesto experience

                                            in Paragraph14which still exist-
       diffrculty dueto the barriersdiscussed
                                                                                     in the
13.    MS. REID intendsto and will visit the Propertyto utilize the goodsand services
                                                                              the subjectsof
       future,but fearsthatshewill encounterthe samebarriersto accesswhich are

       this action.
                                                                               and
14.    DEFENDANTis inviolationof 42U.S.C.$ 12181et seq.and28C.F.R.$ 36.302etseq.
                                                                                       violations
       is discriminatingagainstPLAINTIFF due to, but not limited to the following

                                                         which hinderedher access:
       which pLAINTIFF personallyobservedand/orencountered

               A.     Thereis no compliantaccessaislefrom the streetto the facility;
                      -fhere rampsat the facility thatdo not havelevel landingsand/orcontain
               B.           ars

                              sloPes;
                      excessive

               C.     Inaccessibledisabledparking designatedas accessibledue to improper

                      striping,signage,slope,location,spacewidths andaccessaislewidths;

               E.     The pull side of the front door to the facility doesnot have the proper

                      clearancespace;

               D.        Thereis no compliantroutefromtheaccessible           to thefacility;
                                                                  parkingspaces

                         and

                E.       Thereis no compliantdisabledrestroomsignage.
                                                                        and others
 15.    Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF,
                                                                         policies,practicesor
         similarly situated,by failing to make reasonablemodificationsin
                                                                                 equal
         procedures,rn,hensuch modificationsare necessaryto provide PLAINTIFF an
        Case 2:12-cv-01686-JTM-DEK Document 1 Filed 06/28/12 Page 4 of 5



                                                                                     privileges,
       opporhrnityto prarticipatein, or benefit from, the goods,services,facilities,

                                  whichDEFENDANToffersto the generalpublic;andby
                andaccoilrmodations
       advantages,

                                                to ensurethatno individualwith a disability
       failingto takesucheffortsthatmaybenecessary

       is excluded, derniedservices,segregated,or otherwisetreated differently than other

                          of the absenceof auxiliaryaidsandservices.
       individuals bec,ause

16.    To date,all barriersto accessandADA violationsstill existandhavenot beenremediedor

       alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA' even

       thoughremovalis readilyachievable.

17.    Removal of the discriminatorybarriers to accesslocated on the Property is readily

       achievable,reasonablyfeasible,and easilyaccomplished,and would not placean undue

        burdenon DEFENDANT.

19.     Removalof the barriersto accesslocatedon the Propertywould providePLAINTIFF an

                          participateinoorbenefitfrom,thegoods,services,andaccommodations
        equalopportuni,tyto

        which DEFENIDANToffersto the generalpublic.

20.     Independentof his intent to returnas a patronto the Property,PLAINTIFF additionally

        intendsto returnasan ADA testerto determinewhetherthe barriersto accessstatedherein

        havebeenremrldied.

 Zl.    pLAINTIFF has been obligatedto retain the undersignedcounselfor the filing and

                                                                            attorneys'fees,
        prosecutionof'this action. PLAINTIFF is entitledto havehis reasonable

                         paidby DEFENDANT,pursuantto 42 U.S.C.$ 12205.
        cosrs,andexprlnses

         WHEREFORII,pLAINTIFF demandsjudgmentagainstDEFENDANT, andrequeststhe

 following injunctiveanddeclaratoryrelief:
Case 2:12-cv-01686-JTM-DEK Document 1 Filed 06/28/12 Page 5 of 5



                                                                             by
A.    That this Court Declare that the Property owned, leased and/or operated

      DEFENDANT is in violation of the ADA;

B.    That this Court enteran OrderdirectingDEFENDANT to alter the facilrty to make

                  to anduseableby individualswith disabilitiesto thefull extentrequired
      it accessible

      by Title III of the ADA;
                                                                           its
C.    Thatthis CourtenteranOrderdirectingDEFENDANITto evaluateandneufialize

                                     towardspersonswith disabilitiesfor a reasonable
      policies,practices,andprocedures

                                          andcompletionof correctiveprocedr.ues;
      amountof time, allowingimplementation

D.                                 attorneys'feesocosts(includingexpertfees),and
      Thatthis Court awardreasonable

      otherexpensesof suit,to PLAINTIFF;and
                                                                         just
 E.   That this Court awardsuchotherandfirther relief as it deemsnecessary, and

       proper.

                                           Respectfully Submitted,

                                           THE BZER LAW FIRM
                                           Attorneysfor Plaintiff
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